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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 HOUSTON HOME DIALYSIS, LP,                       §
                                                  §
                              Plaintiff,          §
                                                  §
 v.                                               §
                                                  §       CIVIL ACTION NO. 4:17-cv-02095
 BLUE CROSS and BLUE SHIELD OF                    §
 TEXAS, A DIVISION of HEALTH                      §
 CARE SERVICE CORPORATION, A                      §
 MUTUAL RESERVE COMPANY,                          §
 and HORIZON BLUE CROSS BLUE                      §
 SHIELD OF NEW JERSEY                             §
                                                  §
                           Defendants.            §

                  PLAINTIFF’S SECOND AMENDED COMPLAINT AND
                     REQUEST FOR DECLARATORY JUDGMENT

       Plaintiff Houston Home Dialysis, LP (“Houston Home Dialysis”) files this Second

Amended Complaint and Request for Declaratory Judgment against Defendants Health Care

Service Corporation, a Mutual Legal Reserve Company that operates in Texas as Blue Cross and

Blue Shield of Texas (“Texas Blue Cross”), and Horizon Healthcare Services, Inc. d/b/a Horizon

Blue Cross Blue Shield of New Jersey (“Horizon Blue Cross”). Defendants Texas Blue Cross and

Horizon Blue Cross are collectively referred to as Blue Cross.

                                                I.
                                           INTRODUCTION

       1.      This is an action by a medical services provider against insurance companies for

failure to properly reimburse it for services rendered to six individual insureds/patients.

       2.      Houston Home Dialysis provided medical treatment—specifically staff-assisted

home dialysis—to the six patients whose benefit claims are at issue in this lawsuit. Houston Home

Dialysis then properly and timely submitted claims for reimbursement to Blue Cross for the
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services it provided. Blue Cross failed to properly reimburse Houston Home Dialysis pursuant to

the terms of the Blue Cross benefit plans or insurance contracts (the “Plans”) covering the six

patients to whom Houston Home Dialysis provided services. Blue Cross’ failure to properly

reimburse Houston Home Dialysis has spanned a period of over two years.

       3.      Houston Home Dialysis brings this lawsuit seeking compensation for the services

it has rendered and for which it is owed under the Blue Cross Plans.

                                             II.
                                           PARTIES

       4.      Plaintiff Houston Home Dialysis is a Texas limited partnership with its principal

place of business in Harris County, Texas, and with operations in the surrounding counties. One

of its members is a Texas corporation with its principal place of business in Texas, which makes

Houston Home Dialysis a citizen of Texas for diversity purposes. The second member of Houston

Home Dialysis is a Japanese citizen who is a United States permanent resident domiciled in Texas,

which makes Houston Home Dialysis also a citizen of Japan for diversity purposes.

       5.      Defendant Texas Blue Cross is an Illinois corporation with its principal place of

business of in Illinois. Therefore, Texas Blue Cross is solely a citizen of Illinois for diversity

purposes. It has previously been served and has appeared in this lawsuit.

       6.      Defendant Horizon Blue Cross is a New Jersey corporation with its principal place

of business in New Jersey. Therefore, Horizon Blue Cross is a citizen solely of New Jersey for

diversity purposes. It has previously been served and has appeared in this lawsuit

                                          III.
                                JURISDICTION AND VENUE

       7.      This Court has personal jurisdiction over Defendants Texas Blue Cross and Horizon

Blue Cross because those Defendants conduct substantial business in Texas, and because a



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substantial part of the events or omissions giving rise to the claims occurred in Texas.

         8.     This Court has subject matter jurisdiction over Defendants Texas Blue Cross and

Horizon Blue Cross pursuant to 29 U.S.C. §§ 1001 et seq., Employment Retirement Income

Security Act (“ERISA”), as Houston Home Dialysis’ claims arise, in part, under ERISA. This

Court also has subject matter jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because it

arises under the Constitution, law or treaties of the United States.

         9.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a) because this is an action between citizens of different states, as well as citizens of a state

and subjects of a foreign state, and the matter in controversy exceeds the sum or value of $75,000,

exclusive of interests and costs. There is complete diversity because the case involves a citizen of

Texas and Japan on one side of the litigation and citizens of Illinois and New Jersey on the other

side.

         10.    This Court has supplemental jurisdiction under 28 U.S.C. §1367 because Houston

Home Dialysis’ state-law claim is so related to its claim within the Court’s original jurisdiction

that it forms part of the same case or controversy under Article III of the United States Constitution.

         11.    Venue is proper in this Court under 29 U.S.C. § 1132(e)(2), which states that

“[w]here an action under this subchapter is brought in a district court of the United States, it may

be brought in the district where the plan is administered, where the breach took place, or where a

defendant resides or may be found.”

         12.    Venue is also properly established in this Court pursuant to 28 U.S.C. § 1391(b)(2)

because all or a substantial part of the events or omissions giving rise to the claims asserted herein

occurred in this judicial district.




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                                                  IV.
                                                 FACTS

        13.     Kidney failure, also known as End-Stage Renal Disease or ESRD, is a medical

condition of impaired kidney function in which the kidneys fail to adequately filter metabolic

wastes from the blood. Dialysis is the medically required process required with end-stage kidney

failure. Generally, end-stage kidney failure begins to occur when people lose about 85% of their

kidney function.

        14.     People who have chronic kidney disease will require dialysis or a kidney transplant

at some point or the consequence is kidney failure and death. People who stop dialysis may live

anywhere from one week to several weeks, depending on the amount of kidney function they have

left and their overall medical condition.

        15.     There are several types of dialysis.           This lawsuit deals with the process of

hemodialysis.

        16.     With hemodialysis, blood is put through a filter outside of the body, cleaned, and

then returned. This is done using a special filter called a dialyzer or artificial kidney. The dialysis

machine pumps blood through a sophisticated dialysis system that controls, for example, the

treatment time, temperature, fluid removal and pressure. Hemodialysis requires a doctor’s order

and a renal nurse or technician to perform the tasks required during a dialysis treatment.

Depending upon the patient’s medical condition and other factors, the dialysis process is done

either at a dialysis facility, clinic, hospital, or at home.

        17.     Staff-assisted home dialysis is not the same as staff-assisted dialysis in a dialysis

facility, clinic, or hospital. Staff-assisted home dialysis is not the same as home dialysis where

patients, themselves, do their own dialysis at home. Staff-assisted home dialysis is the provision

of dialysis treatments to a patient by a registered renal nurse or licensed vocational renal nurse in

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the patient’s home, pursuant to an order by a nephrologist and under the direction of a nephrologist.

       18.     Houston Home Dialysis is a Texas entity organized solely for the purposes of

providing staff-assisted home dialysis treatments performed by a registered renal nurse or licensed

vocational renal nurse in a patient’s home, pursuant to an order by a nephrologist and under the

direction of a nephrologist. Houston Home Dialysis serves Harris County (Houston, Texas) and

surrounding counties.

       19.     Healthcare providers, like Houston Home Dialysis, are classified as either “in-

network” or “out-of-network” medical providers.             In-network medical providers have

contractually agreed with health insurance companies to accept pre-determined and heavily

discounted rates for healthcare services provided to insured members and beneficiaries.

       20.     Out-of-network providers, on the other hand, have not contractually agreed to

accept pre-determined and heavily discounted rates for healthcare services.

       21.     Relevant to the healthcare claims forming the basis of this lawsuit, Houston Home

Dialysis operates as an out-of-network medical services provider who furnished health care

services to only those members and beneficiaries covered under out-of-network healthcare plans

insured or administered by Blue Cross.

       22.     The healthcare plans that are the basis of this lawsuit permitted its members and

beneficiaries to obtain healthcare services from out-of-network providers, in this case, Houston

Home Dialysis. The members and beneficiaries paid additional premiums in exchange for this

right. The members and beneficiaries paid additional premiums and voluntarily agreed to accept

higher deductibles so it was not necessary to participate in an in-network only provider scheme.

       23.     Although Houston Home Dialysis has numerous patients and deals with insurance

carriers other than just Blue Cross, this case deals in particular with the non-payment by Blue



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Cross of charges for staff-assisted home dialysis treatments for six Houston Home Dialysis

patients. Five of the patients are insured by Texas Blue Cross, while one patient is insured by

Horizon Blue Cross.

           24.    The Houston Home Dialysis patients whose benefit claims are at issue in this

lawsuit are also referred to herein as Patients No. 1, 2, 3, 4, 5, and 6.1 Patients No. 1, 2, 4, 5, and

6 are insured by Texas Blue Cross. Patient No. 3 is insured by Horizon Blue Cross.

           25.    Texas Blue Cross Patients No. 1, 2, and 6 are covered by ERISA plans. 2 Texas

Blue Cross Patients No. 4 and 5 are covered by non-ERISA plans related to employment with a

Texas governmental entity.3 Horizon Blue Cross Patient No. 3 is covered by an ERISA plan.4

           26.    Houston Home Dialysis has provided staff-assisted home dialysis treatments for

these six patients for a period of over two years. Prior to the start of the treatment for these six

patients, Houston Home Dialysis queried Blue Cross for authorization for the dialysis treatments

it provided. Blue Cross then instructed Houston Home Dialysis to begin treatments as an “out-of-

network” provider since each patient’s Blue Cross policy benefits covered the medically necessary

dialysis services from out-of-network providers.

           27.    Blue Cross has failed to properly reimburse Houston Home Dialysis for these

medically necessary hemodialysis treatments pursuant to the terms of the Blue Cross Plans of the

six patients whose benefit claims are at issue in this lawsuit.5


1
  Exhibit A to this Second Amended Complaint—which is marked CONFIDENTIAL and is being filed under seal
contemporaneously with the filing of this pleading—sets forth the names of Patients No. 1, 2, 3, 4, 5, and 6; the
insurance identification numbers for those patients; the insurance group numbers for those patients; and the names of
the benefit plans for those patients.
2
    Exhibit A.
3
    Id.
4
    Id.
5
  Exhibit B to this Second Amended Complaint—which is marked CONFIDENTIAL and is being filed under seal
contemporaneously with the filing of this pleading—sets forth the benefit claims at issue in this lawsuit for Patients

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         28.      For at the patients insured by Texas Blue Cross, the Plans provide that the allowable

amount for out-of-network providers will be based on the Medicare reimbursement rate, adjusted

by a predetermined factor that Blue Cross established. The adjustment factor cannot be less than

75%. The allowable amount also includes a provision limiting it to, at maximum, the amount of

the provider’s billed charges. The Plans provide that if no Medicare reimbursement rate is

available, or if it is unable to be determined, the allowable amount will be an average contract rate

in aggregate for in-network providers of staff-assisted dialysis in the patient’s home, adjusted by

a predetermined factor that Blue Cross established. The adjustment factor cannot be less than

75%.

         29.      For the patient insured by Horizon Blue Cross, the Plan provides that the allowance

for out-of-network providers will be the amount determined as 250% of the amount that would be

reimbursed for the service or supply under Medicare. The allowance also includes a provision

limiting it to, at maximum, the actual charge made by the provider for the service or supply. The

Plan provides that if Medicare does not prescribe a reimbursement rate for the covered service or

supply, the allowance will be determined based on profiles compiled by Horizon Blue Cross based

on usual and prevailing payments made to providers for similar services or supplies in specific

geographical areas, or similar profiles compiled by outside vendors.

         30.      Medicare does not pay for staff-assisted home dialysis. Medicare pays for inpatient

dialysis in hospitals and outpatient dialysis in dialysis facilities, which are different than the

provision of staff-assisted home dialysis. Medicare also pays for the equipment and supplies for

patients to do self-dialysis at home, which are different than the services that Houston Home


No. 1, 2, 3, 4, 5, and 6; the names of those patients; the dates of birth of those patients; the insurance identification
numbers for those patients; and the insurance group numbers for those patients. The lists constituting Exhibit B were
part of Houston Home Dialysis’ Initial Disclosure documents which Houston Home Dialysis previously produced to
Texas Blue Cross and Horizon Blue Cross on January 30, 2018. See HHH000001-94.

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Dialysis provides. So Medicare will pay for staff-assisted dialysis in a hospital or a clinic and will

pay for patients to do their own dialysis at home. But Medicare will not pay for staff-assisted

dialysis in the patient’s home, the care that Houston Home Dialysis provided.

       31.     Because Medicare does not pay for staff-assisted home dialysis, there is no

Medicare reimbursement rate for the service. Therefore, the amount that was owed under the

Texas Blue Cross Plans could not be calculated based on the Medicare reimbursement rate; instead,

the average contract rate in aggregate for in-network providers would be used. That amount would

be adjusted by a predetermined factor of at least 75%.

       32.     Based on information and belief, Texas Blue Cross has no in-network providers of

staff-assisted home dialysis services, so it is not possible to calculate the average contract rate in

aggregate for in-network providers of staff-assisted home dialysis, as the Texas Blue Cross Plans

require. Therefore, the reimbursement rate becomes a reasonable price. This is the rule under

federal common law for the ERISA claims and under Texas common law for the Texas breach-of-

contract claim. See United States v. Swift & Co., 270 U.S. 124, 141 (1926) (“Under ordinary

conditions, a valid agreement can be made for purchase and sale without the fixing of a specific

price. In such a case a reasonable price is presumed to have been intended.”); Bendalin v. Delgado,

406 S.W.2d 897, 900 (Tex. 1966) (“Where the parties have done everything else necessary to make

a binding agreement for the sale of goods or services, their failure to specify the price does not

leave the contract so incomplete that it cannot be enforced. In such a case it will be presumed that

a reasonable price was intended.”); RESTATEMENT (SECOND) OF CONTRACTS § 33 cmt. e.

       33.     Texas Blue Cross has claimed but not substantiated that it pays $600 for in-network

staff-assisted home dialysis and that it would pay Houston Home Dialysis $357 per treatment.

Even if it is assumed that Texas Blue Cross is correct, which Houston Home Dialysis denies, that



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the average contract rate in aggregate for in-network providers of staff-assisted home dialysis is

$600, that amount could be adjusted no more than 75% under the Plan. 75% of $600 is $450,

which is $93 more than the $357 per treatment that Texas Blue Cross claimed was the proper

amount. So based on Texas Blue Cross’ own representations, it calculated payment to Houston

Home Dialysis incorrectly. To be clear, Houston Home Dialysis is not agreeing, much less

stipulating, that the average contract rate in aggregate for in-network providers of staff-assisted

home dialysis is $600. But even if Texas Blue Cross were correct regarding that, it still failed to

properly pay Houston Home Dialysis as required under the Plans.

        34.       Because there is no Medicare reimbursement rate for staff-assisted home dialysis,

the amount that was owed under the Horizon Blue Cross Plan could not be calculated based on the

Medicare reimbursement rate. Instead, the amount owed under the Horizon Blue Cross Plan is

determined based on profiles compiled by Horizon Blue Cross based on usual and prevailing

payments made to providers for similar services in specific geographical areas, or similar profiles

compiled by outside vendors.6

        35.       Covered members and beneficiaries who sought and obtained medical care from

Houston Home Dialysis signed an assignment of benefits and a designation of authorized

representative agreement to Houston Home Dialysis.

        36.       In situations where Blue Cross did not directly insure the healthcare plans, it

functioned as the healthcare plan’s third-party “plan administrator,” as that term is defined under

ERISA.        Accordingly, Blue Cross assumed all obligations imposed by ERISA on plan

administrators.


6
  Horizon Blue Cross has not yet produced any of its Initial Disclosure documents or produced documents responsive
to Houston Home Dialysis’ discovery requests seeking documents relating to the profiles compiled by Horizon Blue
Cross based on usual and prevailing payments made to providers of staff-assisted home dialysis in Harris County,
Galveston County, Fort Bend County, and Waller County, or similar profiles compiled by outside vendors.

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         37.      Before scheduling or performing any medical services, Houston Home Dialysis

called Blue Cross at the telephone number indicated on each covered member’s or beneficiary’s

healthcare card to verify the member or beneficiary’s coverage and eligibility, including out-of-

network benefit coverage and coverage for the specific healthcare services performed by Houston

Home Dialysis. Blue Cross never told Houston Home Dialysis that staff-assisted home dialysis

was not covered or that they would not pay for it.

         38.      Upon receipt of Blue Cross’ authorizations, and in reasonable reliance on those

authorizations, Houston Home Dialysis performed medical services for the six covered members

and beneficiaries whose benefit claims are at issue in this lawsuit.

         39.      After medical services were performed, Houston Home Dialysis properly and

timely submitted claims, together with all necessary supporting documents and information

through Blue Cross’ designated claims handling channels.

         40.      Blue Cross, upon receiving these claims, either denied them, underpaid them, or

otherwise failed to pay them in accordance with the terms and conditions of the covered member’s

and/or beneficiary’s Plans. Additionally, Blue Cross failed to pay these claims promptly.

         41.      As a result of Blue Cross’ wrongful conduct, Houston Home Dialysis has suffered

economic losses on Texas Blue Cross Patients No. 1, 2, 4, 5, and 6, and economic losses on

Horizon Blue Cross Patient No. 3.7

         42.      All conditions precedent to bringing this action have occurred, or have been

waived.


7
 On March 23, 2018, Houston Home Dialysis produced to Blue Cross the report of its economic damages expert dated
March 22, 2018. As of March 22, 2018, Texas Blue Cross and Horizon Blue Cross had not produced any of its Initial
Disclosure documents. Houston Home Dialysis’ economic damages expert, therefore, expressly reserved the right to
amend or update his report based on additional information received after the date of the report. It was not until May
7, 2018, and then again on June 29, 2018, that Texas Blue Cross produced its Initial Disclosure documents. Horizon
Blue Cross has still not produced its Initial Disclosure documents. Houston Home Dialysis’ economic damages expert
will be supplementing his report.

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                                        V.
                          REQUEST FOR DECLARATORY JUDGMENT

       43.     Houston Home Dialysis incorporates the allegations contained in the preceding

paragraphs as set forth verbatim herein.

       44.     Houston Home Dialysis seeks a declaratory judgment under the Federal

Declaratory Judgment Act and the Texas Declaratory Judgment Act. 28 U.S.C. § 2201 et seq.;

TEX. CIV. PRAC. & REM. CODE §37.001 et seq.

       45.     Houston Home Dialysis seeks a declaration from this Court of Blue Cross’

reimbursement obligations to Houston Home Dialysis on an on-going forward basis for Houston

Home Dialysis’ provision of staff-assisted home dialysis to patients covered by Blue Cross Plans.

                                         VI.
                            ERISA-BASED CAUSE OF ACTION

       46.     Houston Home Dialysis incorporates the allegations contained in the preceding

paragraphs as if set forth verbatim herein.

       Count 1:        Claim to Enforce and Obtain Benefits Under ERISA
                       (Applies to Patients No. 1, 2, 3, and 6)

       47.     As the assignee of Patients No. 1, 2, 3, and 6, Houston Home Dialysis is entitled to

enforce the terms of the healthcare plans pursuant to 29 U.S.C. § 1132(a)(1)(B). Under § 502(a)

of ERISA, 29 U.S.C. § 1132(a)(1)(B), Houston Home Dialysis, as assignee, is entitled to recover

benefits under the terms of the healthcare plans for covered members and/or beneficiaries from

whom Houston Home Dialysis received an assignment of benefits.

       48.     Houston Home Dialysis is entitled to recover benefits for providing medical

services to Patients No. 1, 2, 3, and 6 in two different capacities: (1) as assignees of the members’

benefits and (2) alternatively, as authorized representatives of the members or beneficiaries

themselves.

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        49.     Blue Cross acted as a fiduciary to its beneficiaries, including Houston Home

Dialysis as assignee, because Blue Cross exercised discretion in determining whether the plan

benefits would be paid in the amounts set forth in the plans. As a fiduciary under ERISA, Blue

Cross is subject to a civil action under § 502(a) of ERISA.

        50.     In further violation of ERISA, Blue Cross failed to provide Houston Home Dialysis,

as assignee, with all rights under the terms of the underlying healthcare plan. Blue Cross failed to

make clear to Houston Home Dialysis, as assignee, its rights to future benefits under the terms of

the underlying healthcare plans, as required by ERISA.

        51.     Blue Cross also breached the terms of the healthcare plans by making claim

determinations that had the effect of reimbursing less than the amount indicated by the covered

members’ healthcare plan for out-of-network medical services, without valid evidence or

information to substantiate such determinations, and/or did so in an arbitrary fashion.

        52.     As a proximate result of Blue Cross’ wrongful acts, Houston Home Dialysis has

been damaged and is entitled to its actual damages, plus reasonable attorneys’ fees and costs for having to

prepare and prosecute this cause of action.

                                           VII.
                                STATE LAW CAUSE OF ACTION

        Count 2:        Texas Blue Cross’ Breach of Contract
                        (Applies to Patients No. 4 and 5)

        53.     Houston Home Dialysis incorporates the allegations contained in the preceding

paragraphs as set forth verbatim herein.

        54.     Patients No. 4 and 5 had contracts with Texas Blue Cross under which Texas Blue

Cross agreed to pay healthcare claims related to their medical treatment during the time period for

the claims at issue in this lawsuit. In addition, Patients No. 4 and 5 were third-party beneficiaries of

their employers’ contracts with Texas Blue Cross to pay healthcare claims related to their medical
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treatment during the time period for the claims at issue in this lawsuit.8

           55.      Patients No. 4 and 5 assigned their contractual rights to payment to Houston Home

Dialysis for the claims at issue in this lawsuit.

           56.      Houston Home Dialysis provided staff-assisted home dialysis treatment to Patients

No. 4 and 5. Houston Home Dialysis sent invoices to Texas Blue Cross seeking payment under

Patients No. 4 and 5’s insurance plans.

           57.      Texas Blue Cross failed to properly pay Houston Home Dialysis pursuant to Patients

No. 4 and 5’s insurance plans for the services identified on Exhibit B.

           58.      Houston Home Dialysis is suing for payment of the remaining amounts Texas Blue

Cross owes regarding its treatment of Patients No. 4 and 5. See Exhibits A and B.

           59.      As a result of the breach of contract by Blue Cross, Houston Home Dialysis has been

damaged and is entitled to its actual damages, plus reasonable attorneys’ fees and costs for having to prepare

and prosecute this cause of action for breach of contract.

                                                  VIII.
                                             ATTORNEYS’ FEES

           60.      Houston Home Dialysis incorporates the allegations contained in the preceding

paragraphs as if set forth verbatim herein.

           61.      Houston Home Dialysis has repeatedly presented claims to Blue Cross demanding

proper payment for the above-described healthcare services. More than 30 days have passed since

those demands were made, but Blue Cross has failed and refused to properly pay Houston Home

Dialysis. As a result of Blue Cross’ failure to properly pay these claims, Houston Home Dialysis

has been required to retain legal counsel to institute and prosecute this action. Houston Home

Dialysis is, therefore, entitled to recover reasonable attorneys’ fees for necessary services rendered


8
    See, e.g., Paragraphs 25-28; 30; 31-33; 35; and 37-41 of Plaintiff’s Second Amended Complaint.

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in prosecuting this action, as well as any subsequent appeals.

        62.     Houston Home Dialysis is entitled to an award of attorneys’ fees on its ERISA

claim. See 29 U.S.C. § 1132(g)(l). See also Hardt v. Reliance Standard Life Ins. Co., 130 S. Ct.

2149, 2152 (2010); Baptist Mem’l Hosp.-Desoto, Inc. v. Crain Auto. Inc., 392 Fed. Appx. 289, 299

(5th Cir. 2010).

        63.     Houston Home Dialysis is also entitled to an award of attorneys’ fees regarding its

breach of contract claim. TEX. CIV. PRAC. & REM. CODE § 38.001. Houston Home Dialysis has

presented claims to Blue Cross demanding proper payment for the value of the above-described

services. Blue Cross has failed and refused to properly pay Houston Home Dialysis more than 30

days after the demands were made. As a result of Blue Cross’ failure to properly pay these claims,

Houston Home Dialysis was required to retain legal counsel to institute and prosecute this action.

                                               IX.
                                          JURY DEMAND

        64.     Pursuant to Federal Rule of Civil Procedure 38, Houston Home Dialysis demands

a jury on all issues so triable.

                                              X.
                                          CONCLUSION

        65.     Houston Home Dialysis demands judgment in its favor. This Court should award

Houston Home Dialysis relief as follows:

                a.      A declaration from this Court of Blue Cross’ reimbursement obligations to
                        Houston Home Dialysis on a going-forward basis for Houston Home
                        Dialysis’ provision of staff-assisted home dialysis to patients covered by
                        Blue Cross Plans.

                b.      Actual damages.

                c.      Reasonable attorneys’ fees, costs, and expenses.

                e.      Pre-judgment and post-judgment interest.

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        f.    All other relief, legal or equitable, to which Houston Home Dialysis is
              entitled.


                                   Respectfully submitted,

                                   BAKER • WOTRING LLP

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                              CERTIFICATE OF SERVICE

        I hereby certify that on July 13, 2018, a copy of the above Second Amended Complaint
and Request for Declaratory Judgment was served on all counsel of record via the Court’s
electronic filing system.

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